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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CIPHERBLADE, LLC, a Pennsylvania Limited
Liability Corporation, and CIPHERBLADE, LTD, a      CASE NO.
United Kingdom limited company

                  PLAINTIFFS,
v.

CIPHERBLADE, LLC, an Alaska Limited Liability
Corporation, MANUEL KRIZ, MICHAEL                   JURY TRIAL DEMANDED
KRAUSE, JORN HENRIK BERNHARD
JANSSEN, SERGIO GARCIA, JUSTIN MAILE,
IOANA VIDRASAN,

and

CIPHERBLADE APAC PTE LTD, a Singapore
limited company, JUSSI AITTOLA,

and

OMEGA3ZONE GLOBAL LTD, a Cyprus limited
company, PAUL MARNITZ,

and

INQUISITA SOLUTIONS LTD., a Cyprus limited
company

and

GREEN STONE BUSINESS ADVISORY FZ LLC,
a United Arab Emirates Limited Liability
Corporation.


                  DEFENDANTS.


                                      COMPLAINT

      1.       Plaintiff CipherBlade , by and through its attorneys, Crowell & Moring LLP,

for their Complaint against Defendants CipherBlade LLC, an Alaska Limited Liability

Corporation; Manuel Kriz; Michael Krause; Jorn Henrik Bernhard Janssen; Sergio Garcia;



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Justin Maile; Ioana Vidrasan; CipherBlade APAC PTE LTD, a Singapore limited company;

Jussi Aittola; and Omega3Zone Global LTD, a Cyprus limited company; Inquisita Solutions

Ltd. a Cyprus limited company, and Green Stone Business Advisory, a Dubai company,

hereby allege as follows:

                                 NATURE OF THE ACTION

       1.       This is a civil action for misappropriation of trade secrets under the Defend

Trade Secrets Act, 18 U.S.C. § 1836, (ii) unfair competition under the Lanham Act (15 U.S.C.

§§ 1114 & 1125), and (iii) related state law claims for unfair competition, conversion, and

conversion of chattels.

       2.       Plaintiffs seek injunctive and other equitable relief and damages against

Defendants who wrongfully operate and control                                IT infrastructure and

converted corporate assets including customer and business trade secrets and confidential

information                                  services for their own. Defendants, through their

illegal activities involving misuse of CipherBlade assets, infrastructure, and resources, have

caused and continue to cause irreparable injury to Plaintiffs, their customers, and the public.


                                            PARTIES

       3.       Plaintiff CipherBlade, Ltd. is a corporation organized under the laws of the United

Kingdon and is located at 52 Grosvenor Gardens, Nwms Office 514 5 th Floor, Belgravia, London,

England, United Kingdom and is majority owned by Richard Sanders, who is a natural person

domiciled in Pennsylvania.

       4.       Plaintiff CipherBlade LLC, while incorporated in Pennsylvania, has a Certified

Investigative Partnership with Chainalysis, which operates in New York City, New York, and

is also owned by Richard Sanders.



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       5.       Defendant CipherBlade LLC is, on information and belief, an Alaska limited

liability corporation with offices at 310 K Street, Suite 200, Anchorage, AK 99501 and which

is owned and/or controlled by Defendant Justin Maile.

       6.       Defendant CipherBlade APAC PTE LTD is, on information and belief, a Singapore

limited company with offices at 30 Cecil Street, #19-08 Prudential Tower, Singapore 049712and

which is owned and/or controlled by Defendant Jussi Aittola.

       7.       Defendant Omega3Zone Global LTD is, on information and belief, a Cyprus

limited company with offices at 9 Stelmio Building, Flat/Office 301, 8020, Paphos, Cyprus,

Greeceand which is owned and/or controlled by Defendant Paul Marnitz.

       8.       Defendant Manuel Kriz is a natural person domiciled, on information and belief,

in Cyprus at 9, Stelmio Building, Floor 3, Flat/Office 301, 8020, Paphos, Cyprus, Greece.

       9.       Defendant Michael Krause is a natural person domiciled, on information and

belief, in Cyprus.

       10.      Defendant Jorn Henrik Bernhard Janssen is a natural person domiciled, on

information and belief, in Cyprus at 9, Stelmio Building, Floor 3, Flat/Office 301, 8020, Paphos,

Cyprus, Greece.

       11.      Defendant Ioana Vidrasan is a natural person domiciled, on information and belief,

in Cyprus at 9, Stelmio Building, Floor 3, Flat/Office 301, 8020, Paphos, Cyprus, Greece.

       12.      Defendant Jussi Aittola is a natural person domiciled, on information and belief,

in Singapore.

       13.      Defendant Justin Maile is a natural person domiciled, on information and belief, in

Alaska at 655 W 22nd Ave, Anchorage, AK 99503.

       14.      Defendant Paul Marnitz is a natural person domiciled, on information and




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belief, in Cyprus at 9, Stelmio Building, Floor 3, Flat/Office 301, 8020, Paphos, Cyprus, Greece .

       15.       Defendant Sergio Garcia is a natural person domiciled, on information and belief,

in Belgium.

       16.       Defendant Inquisita Solutions Ltd. is, on information and belief, a Cyprus limited

company with offices at 9, Stelmio Building, Floor 1, Flat/Office 102, 8020, Paphos, Cyprus,

Greece.

       17.       Defendant Green Stone Business Advisory FZ LLC is, on information and belief,

a Dubai limited company with offices at A4-712, Building no. A4, Al Hamra Industrial Zone-FZ,

Ras Al Khaimah, United Arab Emirates.

                                 JURISDICTION AND VENUE

       18.       This Court additionally has subject matter jurisdiction over this case pursuant to the

Defend Trade Secrets Act (18 U.S.C. § 1836) and the Lanham Act (15 U.S.C. § 1114 & 1125).

The Court also has supplemental jurisdiction for the New York State law claims pursuant to 28

U.S.C. § 1367.

       19.       This Court also has subject matter jurisdiction over this case pursuant to 28 U.S.C.

§ 1332, because, upon information and belief, all of the Defendants are citizens of jurisdictions

other than the states where Plaintiffs are citizens and the amount in controversy exceeds $75,000.

       20.       The venue in this action is proper within the Southern District of New York

pursuant to 28 U.S.C. § 1391(b), in that (i)                                      and customers for

                                       in New York; (ii) the claims asserted by Plaintiffs arose

within this judicial district, and (iii) there is no district better suited in which this action may

otherwise be brought.

       21.       Defendants are subject to personal jurisdiction in the State of New York and




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venue in this Court because through tortious conduct in this District they caused injury to

                 important business partnerships and customer relations with entities based in

this District.

        22.      New York is a critical market for the cryptocurrency investigative and recovery

services that CipherBlade provides. Indeed, CipherBlade provides cryptocurrency investigative

and recovery services and expert testifying services to institutions and individuals based in the

Southern District of New York, including as examples investigative work for a victim in

connection with SEC v. Elmaani, 20 Civ. 10374, a case in this District, and investigative and

testifying work in connection with LCX AG v. Doe and $1.274 M U.S. Dollar Coin, Index 154644-



last three years has included four engagements to acting as an expert in a lawsuit involving

cryptocurrency pending in the federal or state courts in New York County and numerous other

engagements that did not result in or involve an action in court.

        23.

                                                                       usiness. CipherBlade is also

retained to provide insight in connection with government cryptocurrency enforcement matters

that take place in this District. In this capacity, CipherBlade interacts with prosecutors and

regulators in this District concerning cryptocurrency investigations on behalf of clients, including

a cryptocurrency exchange.

        24.      CipherBlade most important business partner and relationship is with Chainalysis,

which is based in this District, and with which CipherBlade works in connection with

investigations in this District and elsewhere. CipherBlade also licenses the Chainalysis blockchain

analysis software and platform to do this work and would be unable to continue in business without




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maintaining this key relationship. Indeed, the Chainalysis blockchain analysis software and

platform is the single tool, without which, CipherBlade cannot operate. This relationship has been

severely compromised as part of this scheme, and Defendants are actively seeking to lock out true

CipherBlade of their Chainalysis accounts and all historical data associated with the

ongoing investigations, which has



       25.     Accordingly, the wrongful acts of Defendants have caused irreparable harm to

Plaintiffs and their crucial client and partner relationships in this District, including by Defendants

wrongly passing themselves off as CipherBlade and accessing and using the Chainalysis software

platform and the confidential information and trade secrets concerning Chainalyisis and

CipherBlade clients to falsely conduct business as CipherBlade.

                                  FACTUAL BACKGROUND

       26.     CipherBlade LLC is a blockchain investigation company that investigates

cryptocurrency-related matters, often involving cybercrime, and tracks Bitcoin and other

cryptocurrency assets in many instances as well. CipherBlade has investigated, tracked and

provided consulting services on cases leading to the recovery of over $50 million in the last four

years and the location or tracking of cryptocurrencies or other assets obtained through

cryptocurrency transactions valued in the billions of dollars. Richard Sanders co-founded the

company originally in the United Kingdom as CipherBlade Ltd. The company later transitioned

its primary location to the state of Pennsylvania where it was incorporated as CipherBlade,

LLC. The U.K. entity, which Mr. Sanders has majority interest, maintained the CipherBlade

trademark.




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       27.     In late 2022, Mr. Sanders sought to take a step back from the day-to-day operations

of CipherBlade to volunteer in Ukraine to assist the Ukrainian National Police with investigations

involving cryptocurrency. To do so, he required assistance managing the administrative, business

management, and accounting tasks he typically oversaw.

       28.     Mr. Sanders entrusted Defendants Manuel Kriz and Michael Krause to assist with

these tasks for the few months Mr. Sanders was in Ukraine beginning in February 2023.

       29.     Defendant Kriz was initially hired around May or June 2019. He was responsible

for assisting with administrative and business tasks. When Mr. Kriz onboarded, his initial role was

to work as an investigator and handle back-office items such as invoices, leads/general email

responsiveness, engagement agreements and other contractual items (generation thereof          not

signing), client calls, etc. He was not to be responsible for finance and did not have authority to

sign anything o

in any form. Over time, Mr. Kriz needed assistance with his responsibilities and recommended

hiring Defendant Krause.

       30.     With time, Mr. Krause was granted additional duties, such as handling routine

transactions for which Mr. Sanders would be made aware (e.g., compensating staff, Reactor license

payments to Chainalysis, etc.)                                                               . Mr.

Krause at no point owned any portion of CipherBlade and has no equity interest in the company.

He is an emplooye who, over time, grew into the position of trusted business colleague and friend

to Mr. Sanders.

       31.     Both Defendants Kriz and Krause were granted limited administrative access and



                                                               two sons, Defendants Jorn Henrik




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Bernhard Janssen and Paul Marnitz. Defendants Kriz and Krause also subsequently hired

Defendants Maile, Aittola, and Vidrasan. All Defendants were or should have been employees of

CipherBlade. However, it turned out that Defendant Maile was not technically employed by

CipherBlade. Rather, Defendant Maile created his own company, mimicking the name



limited company in Singapore, CipherBlade APAC Pte Ltd. Both CipherBlade Alaska and

                                                                    using stolen corporate assets to

pass themselves off as CipherBlade.

       32.     On June 16, 2023, Mr. Sanders transitioned the role of CEO to Paul Sibenik.

                                The Scheme to Steal the Business

       33.     Defendants represented to Mr. Sanders that separate entities may be necessary to

facilitate business opportunities and segregate business lines. Defendants then falsely represented

to Mr. Sanders that separate CipherBlade entities would be set up in Alaska and Singapore and

each would be: (i) affiliated with CipherBlade, and (ii) registered as owned by Mr. Sanders. They

were not. The Alaska entity was and is, on information and belief, wholly owned by Defendant

Maile, and the Singapore entity is, on information and belief, wholly owned by Defendant Aittola.

       34.     It was well known among CipherBlade staff that Mr. Sanders intended to volunteer

his time and services to assist the people in Ukraine for at least a few months in early 2023. Almost

immediately after Mr. Sanders departed for Ukraine, Defendants engaged in a series of activities

that were unauthorized and far exceeded the parameters of the authorized scope of their work and

permissions. These acts involved fraudulent misrepresentations and conduct by which Defendants

conspired to convert CipherBlade assets       including its trademark, corporate trade secrets and

confidential information, employees, and business contracts      and to transfer these assets to their




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control including the control by enterprises operated by Defendants

trademark, all

       35.

transferred the CipherBlade Ltd. trademark to another entity (omega3zone Global Ltd.), owned by

Defendant Marnitz, who is the son of Defendant Michael Krause. Defendant Kriz fraudulently

signed the transfer as a purported authorized signatory. However, Defendant Kriz never had such

signing authority for CipherBlade Ltd. in the U.K. that would permit him to lawfully transfer a

CipherBlade corporate asset to another entity. Indeed, Defendant Kriz had never been a part of

CipherBlade Ltd. in the U.K. In connection with this fraudulent transfer, Defendants have been

                                   pass themselves off as CipherBlade and to, on information and

belief, mislead customers and vendors into signing agreements with CipherBlade Alaska and

CipherBlade Singapore.

       36.       Defendants also began using an email address to contact customers and conduct



authorization. Defendants used this email account to communicate purportedly on behalf of

CipherBlade as Mr. Sanders himself. These emails even went so far as to include a picture of Mr.

Sanders in the signature line:




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       37.                                            richard@cipherblade.com email address,

its limited use was not for the purpose that Defendants subsequently abused it for -- to

communicate with various stakeholders as though it were Mr. Sanders himself corresponding.

       38.    On June 16, 2023, Mr. Sibenik, the CipherBlade CEO became aware that there was

                                     He found that Defendants had discreetly been orchestrating

considerable changes in the weeks and months prior. In this time period, for example, they

perpetuated the false narrative that Mr. Sanders approved of business contracts being transferred

from CipherBlade to the Alaska Entity, which he did, under the impression that he owned it, which

he did not.

       39.    Defendants also actively attempted to convert numerous current CipherBlade

clientele over to the Alaska Entity. Because the CipherBlade employees not part of Defendants

conspiracy do not have visibility into client emails, as Defendants have locked them out of email

access, it is currently impossible to know the amount of harm done.

       40.    Defendants also converted CipherBlade corporate assets by making payments with

corporate assets to themselves masking the payments as vendor payments to entities controlled by

Defendants. Defendants transferred CipherBlade funds in a series of transactions captured as



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business account to a shell company called Inquisita Solutions Ltd. in multiple instances across

the month of April 2023 and just days before Mr. Kriz was fired from CipherBlade. According to



and Janssen. Defendants also have asserted control, without authority, over some of



       41.     Defendants actively engaged in a series of unauthorized and unlawful activities that

sought to undermine the control and ownership of CipherBlade. Defendants also perpetuated their

efforts by abusing the access Mr. Sanders granted them to his home while he was away in Ukraine.,

including the theft from his home of CipherBlade corporate documents. While abroad in Ukraine,

Mr. Sanders received a series of messages from his home security system of system alerts that

indicated camera surveillance was down. Upon his return home, he observed that business

registration related documents, including LLC and business filings as well as company trademark

paperwork were missing. Furthermore, he came across a U.S. Postal Service receipt for a package

purportedly mailed by U.S. Mail from his home, fraudulently using his name, and credit card

information without permission, sent to an address in Cyprus. On further inspection of the receipt,

the package was addressed to Defendant Paul Marnitz in Cyprus.




       42.     Defendants also took control of various CipherBlade-controlled IT infrastructure,

made various unauthorized administrative changes, and abused various administrative

permissions. Defendants also locked out and/or heavily restricted employees, who had raised

questions and sought justification from Defendants for their activities, from critical company




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infrastructure. Most   notably,   Defendants     took    control   of   the   CipherBlade   domain

(https://cipherblade.com) which is registered with Namecheap as the registrar, as well as the

hosting infrastructure with Google and Google Workspaces, which grants employees email access.

In this manner, Defendants by fraud obtained           administrative access and control over this

CipherBlade IT infrastructure, through which Defendants have gained access for themselves and

revoked access to CipherBlade IT infrastructure for Mr. Sanders and the CipherBlade employees

                                    .

       43.     Furthermore, the registrant for cipherblade.com was changed from Richard Sanders

with the email address rich@cipherblade.com to Defendant Mr. Maile with the email

billing@cipherblade.com on June 13, 2023. Therefore, CipherBlade has been locked out of and no

longer has access to such important business generation and customer contact information and

communication with customers at this time.

       44.     In addition, Defendants converted Plaintiff s cloud assets and computer network,

and all the confidential and trade secret business and customer information on these computer

systems, with the intent to steal clients and funds.

                             COUNT I
  (MISAPPROPRIATION OF TRADE SECRETS, DEFEND TRADE SECRETS ACT)

       45.     Plaintiffs repeats and realleges each and every allegation contained in the

foregoing paragraphs, as if fully set forth herein.

       46.     Plaintiffs are the owner of the Trade Secrets and Confidential Information,

which includes proprietary investigative techniques and processes and confidential business

information and trade secrets concerning the ongoing relationship with Chainalysis, and

specific clients and matters as well as new prospective clients and matters. The Trade Secrets

and Confidential Information are intended for use in interstate and/or foreign commerce,


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including in the execution of business contracts for conducting blockchain investigations and

tracking of Bitcoin and other cryptocurrencies in cybercrime cases.

       47.     The Trade Secrets and Confidential Information derive independent economic

value from not being known to the public or other persons who could obtain economic value

from their disclosure or use.

       48.     Plaintiff takes reasonable measures under the circumstances to keep its Trade

Secrets and Confidential Information confidential.

       49.     Defendants misappropriated Plaintiffs       Trade Secrets and Confidential

Information by wrongfully obtaining through fraudulent and other unlawful acts and/or using

Plaintiff s Trade Secrets and Confidential Information wrongfully obtained.

       50.     Plaintiffs have identified repeated instances of misappropriation by Defendants,

including those described above.

       51.     Defendants know or should know that Plaintiffs

Confidential Information were acquired by improper means.

       52.     Defendants have improperly disclosed and/or used Plaintiffs

Confidential Information after improperly acquiring them, including to compete with

CipherBlade.

       53.     Defendants have caused and continue to cause Plaintiff damages and

irreparable injury.

       54.     Plaintiffs are entitled to a monetary award under 18 U.S.C. § 1836, including

damages to Plaintiffs and any diminution in the value of its Trade Secrets and Confidential

Information, and unjust enrichment of Defendants arising from Defendants misappropriation.

       55.     Defendants




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entitles Plaintiffs to an award of exem

       56.     Defendants' misappropriation of Plaintiffs

Information has caused and will continue to cause Plaintiffs irreparable and substantial injury

and therefore cannot be fully redressed through damages alone. An injunction prohibiting

Defendants from misappropriating, using, or disclosing Plaintiffs

Confidential Information in any manner, and ordering that Defendants permanently destroy

any of Plaintiffs                                                 their possession, custody, or

control, including any materials that were in any way derived from Plaintiffs

and Confidential Information, is necessary to provide Plaintiffs with complete relief.

                                         COUNT II
                                      (CONVERSION)
       57.     Plaintiffs repeat and realleges each and every allegation contained in the

foregoing paragraphs, as if fully set forth herein.

       58.     Defendants knew or should have known that taking the Trade Secrets and

Confidential Information was prohibited and unlawful.

       59.     At all relevant times, Plaintiffs owned the Trade Secrets and Confidential

Information contained in writing.

       60.     Defendants have willfully taken and exercised unlawful and unauthorized

dominion and control over the Trade Secrets and Confidential Information, including for their

personal use and/or through disclosure to third parties.

       61.     Defendants converted and/or will continue to convert the Trade Secrets and

Confidential Information for their own use and financial gain and without authorization or

consent from Plaintiffs.

       62.     As a direct and proximate cause of Defendants conversion of the Trade Secrets



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and Confidential Information, Plaintiffs have incurred and continues to incur damages and

irreparable injury, including without limitation, lost value and potential profits it would have

earned but for Defendants unlawful actions.

        63.     Plaintiffs are entitled to recover compensatory and punitive damages from

Defendants in an amount to be determined at trial.

        64.     Defendants conversion of the Trade Secrets and Confidential Information has

caused and will continue to cause Plaintiff irreparable and substantial injury and therefore

cannot be fully redressed through damages alone. An injunction prohibiting Defendants from

using, disclosing, or relying on the Trade Secrets and Confidential Information in any manner,

and ordering that Defendant permanently destroy any of the Trade Secrets and Confidential

Information in his possession, custody, or control, including any materials that were in any

way derived from the Trade Secrets and Confidential Information, is necessary to provide

Plaintiff with complete relief.

                                     COUNT III
                        (UNFAIR COMPETITION, 15 U.S.C. § 1125(a))

        65.     Plaintiffs repeats and realleges each and every allegation contained in the foregoing

paragraphs, as if fully set forth herein.

        66.     Defendants have taken over CipherBlade, and made false and misleading

statements in an attempt to steal customers and business opportunities from CipherBlade.

Defendants have caused these statements to enter into interstate commerce.

        67.                   statements are false and misleading at least in light of being a false

CipherBlade entity.

        68.     Defendants made these false and misleading statements knowing they were false

and misleading and in bad faith.


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        69.                  statements are likely to confuse or deceive a substantial segment of its

audience, and this deception is material, in that it is likely to influence the purchasing decision.

        70.                   false and misleading statements constitute unfair competition under

Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

        71.                   false and misleading statements have a tendency to harm, have

harmed, and will continue to harm Plaintiff and its business relationships, the conduct of its

business, and its ability to enter into sales and business relationships.

        72.     Plaintiffs have been and are likely to be injured as a result of the false and

misleading statements, either by direct diversion of sales or by a lessening of the goodwill

associated with its products. Plaintiffs are and have been irreparably damaged in its business or

property by                  false and misleading statements, and unless                    false and

misleading statements are enjoined by this Court, Plaintiffs will continue to suffer monetary

damage, market price erosion, loss of market share, lost sales, and irreparable harm to its

reputation, relationships, and goodwill with its customers, vendors, distributors, industry

professionals, and others.

                                             COUNT IV

                              (LANHAM ACT, 15 U.S.C. § 1114(1))

        73.     Plaintiffs repeat and reallege each and every allegation contained in the foregoing

paragraphs, as if fully set forth herein.

        74.     Defendants have taken over the CipherBlade trademark in an attempt to steal

customers and business opportunities from CipherBlade. Defendants have used this trademark in

interstate commerce.




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        75.                   are using this trademark to garner the goodwill of CipherBlade and

represent to                                       CipherBlade entity.

        76.     Defendants did this despite knowing these actions were false and misleading and

in bad faith.

        77.

audience, and this deception is material, in that it is likely to influence the purchasing decision.

        78.                                 misleading statements constitute unfair competition under

Section 43(a) of the Lanham Act, 15 U.S.C. § 1114.

        79.

harmed, and will continue to harm Plaintiffs and its business relationships, the conduct of its

business, and its ability to enter into sales and business relationships.

        80.     Plaintiffs have been and are likely to be injured as a result of the false and

misleading statements, either by direct diversion of sales or by a lessening of the goodwill

associated with its products. Plaintiffs are and have been irreparably damaged in their business or



misleading statements are enjoined by this Court, Plaintiffs will continue to suffer monetary

damage, market price erosion, loss of market share, lost sales, and irreparable harm to its

reputation, relationships, and goodwill with its customers, vendors, distributors, industry

professionals, and others.

                                                COUNT_V

                                   (TRESPASS TO CHATTEL)

        81.     Plaintiffs repeat and reallege each and every allegation contained in the foregoing

paragraphs, as if fully set forth herein.




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        82.     Defendants have used a computer and/or computer network, without authority, with

the intent to cause injury to the property of another.

        83.     Defendants have, without authority, used a computer and/or computer network,

without authority, with the intent to trespass on the computers and computer networks of Plaintiffs.

        84.                                                            result in unauthorized access

to                           on which its programs and algorithms exists, and result in unauthorized

intrusion into those computers and theft of information, account credentials, and funds.

        85.                                       d injury to Plaintiffs and have interfered with the

possessory interests of Plaintiffs over its software.

        86.     Plaintiffs seek injunctive relief and compensatory and punitive damages in an

amount to be proven at trial.

        87.                                                 Plaintiffs have suffered and continue to

suffer irreparable harm for which there is no adequate remedy at law, and which will continue

                                            .

                                                COUNT VI

                                    (UNJUST ENRICHMENT)

        88.     Plaintiffs repeat and reallege each and every allegation contained in the foregoing

paragraphs, as if fully set forth herein.

        89.     The acts of Defendants complained of herein constitute unjust enrichment of the

Defendants at the expense of Plaintiffs in violation of the common law. Defendants used, without

authorization or license, software belonging to Plaintiffs to facilitate unlawful conduct inuring to

the benefit of Defendants.

        90.     Defendants profited unjustly from their unauthorized and unlicensed use of




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Plaintiffs intellectual property.

           91.    Upon information and belief, Defendants had an appreciation and knowledge of the

benefit they derived from their unauthorized and unlicensed use of                      intellectual property.

           92.    Retention by the Defendants of the profits they derived from their malfeasance

would be inequitable.

           93.    Plaintiffs seek injunctive relief and compensatory and punitive damages in an

                                                                                                       -gotten

profits.

           94.                                                   Plaintiffs suffered and continue to suffer

irreparable harm for which there is no adequate remedy at law, and which will continue unless



                                       JURY TRIAL DEMANDED

Pursuant to Fed. R. Civ. P. 35, Plaintiffs demand trial by jury as to all issues that may be tried by a jury.

                                        PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs demand judgment against Defendants and each of them,
jointly and severally, as follows:
                  a)      Awarding Plaintiffs an injunction against Defendants;
                  b)      Awarding Plaintiffs actual damages for past lost wages and benefits and
           future lost wages and benefits, in an amount to be determined at trial, but that would be in
           excess of $75,000
                  c)      Awarding Plaintiffs increased, exemplary and/or treble damages for
           Defendants intentional tortious conduct;
                  d)      Awarding Plaintiffs the costs of this action together with reasonable

                  e)     Awarding Plaintiffs pre- and post-judgment interest in the statutory amount;
                  f)     Return of domain cipherblade.com to true CipherBlade;
                  g)     Release and return of all IT infrastructure and operations platform
           (including GSuite) back to CipherBlade;
                  h)     Cease onboarding and transferring clients to Defendants, including Alaska
           and Singapore CipherBlade;


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             i)       Prevent Defendants from creating similar CipherBlade organizations in the
      future in other jurisdictions or using the CipherBlade mark or any mark that is confusingly
      similar;
             j)       Return of all clients, assets, trade secrets and other confidential information,
      corporate and business records and monies taken during the takeover of CipherBlade;
             k)       Return the CipherBlade mark to CipherBlade Ltd. and declare its
      assignment to Defendant Omega3zone Global, and any other assignments or licenses
      granted by Defendants to be fraudulent, null and void.
             l)       Such other and further relief as the Court deems equitable, just and proper.


Dated: June 30, 2023                        Respectfully submitted,

                                              s/Anne Li
                                            Alexander Joseph Urbelis
                                            Anne Li
                                            James Stronski
                                            CROWELL & MORING LLP
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CIPHERBLADE, LLC, a Pennsylvania Limited
Liability Corporation, and CIPHERBLADE, LTD, a          CASE NO.
United Kingdom limited company

                   PLAINTIFFS,
v.

CIPHERBLADE, LLC, an Alaska Limited Liability
Corporation, MANUEL KRIZ, MICHAEL                       JURY TRIAL DEMANDED
KRAUSE, JORN HENRIK BERNHARD
JANSSEN, SERGIO GARCIA, JUSTIN MAILE,
IOANA VIDRASAN,

and

CIPHERBLADE APAC PTE LTD, a Singapore
limited company, JUSSI AITTOLA,

and

OMEGA3ZONE GLOBAL LTD, a Cyprus limited
company, PAUL MARNITZ,

and

INQUISITA SOLUTIONS LTD., a Cyprus limited
company

and

GREEN STONE BUSINESS ADVISORY FZ LLC,
a United Arab Emirates Limited Liability
Corporation.


                  DEFENDANTS.


Pursuant to 18 U.S.C. § 1746, I, Paul Sibenik, Chief Executive Officer of CipherBlade, hereby
verify that I have read the foregoing Verified Complaint being filed in the matter CIPHERBLADE,
LLC ET AL., v. CIPHERBLADE, LLC ALASKA ET AL. and that all of the factual allegations
contained in the Verified Complaint are true and accurate to the best of my personal knowledge in
Coquitlam, Canada.

Date: June 30, 2023          ________________________________________________
                                   Paul Sibenik, Chief Executive Officer | CipherBlade, LLC


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